        Case 1:20-cr-00110-LJL Document 325 Filed 01/31/22 Page 1 of 11




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

             - v. -

LAWRENCE RAY,
                                                   No. 20 Cr. 110 (LJL)
                      Defendant.




                      LAWRENCE RAY’S MOTION IN LIMINE NO. 1



                                        David E. Patton, Esq.
                                        Federal Defenders of New York, Inc.
                                        52 Duane Street - 10th Floor
                                        New York, New York 10007
                                        Tel.: (212) 417-8700

                                        Counsel for Lawrence Ray

ALLEGRA GLASHAUSSER, ESQ.
MARNE L. LENOX, ESQ.
PEGGY CROSS-GOLDENBERG, ESQ.
NEIL P. KELLY, ESQ.
Of counsel


To: DAMIAN WILLIAMS, ESQ.
    United States Attorney
    Southern District of New York
    One St. Andrew’s Plaza
    New York, New York 10007

    Attn: DANIELLE R. SASSOON, ESQ.
          Assistant United States Attorney
          Southern District of New York
             Case 1:20-cr-00110-LJL Document 325 Filed 01/31/22 Page 2 of 11




                                                   TABLE OF CONTENTS



                                                                                                                                      Page

ARGUMENT .................................................................................................................................. 1

I.        This Court should preclude evidence that                                         had sex with “strangers,”
          which is not relevant to the charge of “forced labor,” and is instead irrelevant and
          unduly prejudicial. .............................................................................................................. 1

II.       This Court should preclude evidence that Isabella Pollok had sex with strangers
          and other “grooming” evidence related to Pollok’s sexual activities. ................................ 4

III.      The Court should not permit the government’s toxicologist to testify that Mr. Ray
          was not poisoned. ................................................................................................................ 7

IV.       The Court should exclude the misleading maps from the government’s cell site expert. .. 8

V.        The Court should permit limited attorney-led voir dire. ..................................................... 8

CONCLUSION ............................................................................................................................... 9




                                                                      i
         Case 1:20-cr-00110-LJL Document 325 Filed 01/31/22 Page 3 of 11




       Lawrence Ray respectfully submits this motion in limine in advance of trial scheduled for

March 8, 2022. Mr. Ray moves the Court for an order (1) excluding evidence that

had sex with strangers; (2) excluding evidence that Isabella Pollok had sex with strangers and other

“grooming” evidence related to Isabella Pollok; (3) precluding the government’s toxicologist from

opining that Mr. Ray was not intentionally poisoned; (4) excluding the misleading maps from the

government’s cell site expert; and, (5) permitting limited attorney-led voir dire.


                                           ARGUMENT

I.     This Court should preclude evidence that                   had sex with “strangers,”
       which is not relevant to the charge of “forced labor,” and is instead irrelevant and
       unduly prejudicial.

       Mr. Ray is charged with violating the prohibition against forced labor between May and

December 2013 in North Carolina. This is a discrete count that is alleged to have occurred at a

different location than the other charged conduct and during a shorter, isolated time period. In

the second superseding indictment, however, the government added an allegation that Mr. Ray

and Ms. Pollok “forc[ed] some of the Victims to perform unpaid manual labor and provide

sexual services, including to strangers,” to the “means and methods of the enterprise.” Dkt. 292

at 5-6. In the enterprise letter, the government states that “sexual grooming was carried out in

service of some of the Enterprise’s objectives, including forcing                    [ ] to perform

sexual services for strangers.” Ltr. at 3. Any evidence that          had sex with “strangers” is

not admissible as evidence of the forced labor predicate of the alleged racketeering conspiracy.

Instead, this evidence is irrelevant under Rule 401 and unduly prejudicial under Rule 403. It

should be precluded.

       As relevant here, forced labor penalizes “whoever knowingly provides or obtains the

labor or services of a person” “by means of force, threats of force, physical restraint, or threats of


                                                  1
         Case 1:20-cr-00110-LJL Document 325 Filed 01/31/22 Page 4 of 11




physical restraint to that person or another person.” 18 U.S.C. § 1589 (1). The government seems

to suggest that “sex with strangers” is a “sexual service,” that falls under the definition of

“services” in the forced labor statute. This is wrong. Sex with strangers does not fall under the

purview of “forced labor,” as it does not confer anyone a benefit.

       While it is an open question whether “services” in the forced labor statute requires an

economic benefit, it still requires that the defendant benefit in some way. In United States v.

Marcus, 628 F.3d 36, 44 (2d Cir. 2010), the Circuit explained that because the “term ‘labor or

services,’ [ ] is not defined by the statute, [it] is viewed in accord with its ordinary meaning.”

The Circuit cited the dictionary definition of “service” as “the performance of work commanded

or paid for by another.” Id. at n. 10, citing Merriam–Webster’s Third New International

Dictionary Unabridged (2002) available at http://www.mwu.eb.com/mwu. The district court and

the Circuit considered whether “labor or services” needed to be work in the traditional, economic

sense, but ultimately did not answer this question, as some of the labor in the case met that

traditional definition. Id. at 44–45. (“The parties do not dispute that the ordinary meaning of the

phrase ‘labor or services’ encompasses [the victim’s] various contributions to the [ ] website

from which only [the defendant] derived pecuniary gain[.]”); United States v. Marcus, 487 F.

Supp. 2d 289, 304 (E.D.N.Y. 2007) (“[T]he tasks [the victim] performed at the defendant’s

behest are not household chores but rather labor or services that would, in fact, ordinarily have

been compensated,” including “setting up and maintaining websites.”).

       The 10th Circuit has rejected the argument that “labor or services” has to be “work in an

economic sense” in United States v. Kaufman, 546 F.3d 1242 (10th Cir. 2008). But nothing in

Kaufman suggests that “sex with strangers” on its own could be considered a labor or service. On

the contrary, Kaufman included evidence of manual labor: the defendants ran an “unlicensed




                                                  2
         Case 1:20-cr-00110-LJL Document 325 Filed 01/31/22 Page 5 of 11




residential home for the chronically mentally ill” and evidence showed that the residents were

forced to do manual labor in the nude and to make pornographic videos. Id (noting also that the

“sole source” of the defendants’ income was proceeds of this business). Kaufman too does not

support that           sexual activities, which are unrelated to any manual labor and divorced

from any benefit to Mr. Ray or Ms. Pollok, are evidence of forced labor.

       The other Second Circuit cases considering the forced labor statute all describe forced

tasks that confer a benefit on the defendants. See, e.g., United States v. Rivera, 799 F.3d 180, 183

(2d Cir. 2015) (waitresses forced to work as prostitutes in bars that “functioned as illegal

brothels”); United States v. Sabhnani, 599 F.3d 215, 225 (2d Cir. 2010) (person forced to work

as a “domestic servant,” including “cooking, cleaning, laundry, and other chores at the [ ] large

three-story residence”); United States v. Garcia, 164 F. App’x 176, 177 (2d Cir. 2006) (“scheme

to recruit migrant farm workers near the Mexico-Arizona border and bring them to western New

York State to work on farms”).

       The defense is aware of no case in which “sex with strangers” on its own would

constitute “labor or services.” Thus, whether          did or did not consent to have sex with an

unspecified number of “strangers” is not evidence relevant to the forced labor predicate of the

racketeering charge. Uncompensated sexual activity is also irrelevant for the sex trafficking

allegations; there are no alleged commercial sex acts related to          Instead, there is no

connection between her sexual activities and any of the charged crimes and this evidence should

be excluded under Rule 401.

       The allegations that Mr. Ray forced            to have sex with others is also confusing and

unduly prejudicial and should be excluded under Rule 403. Without any connection to a count,

the evidence serves merely to try to portray Mr. Ray as a generally bad guy. Our “whole tradition




                                                 3
         Case 1:20-cr-00110-LJL Document 325 Filed 01/31/22 Page 6 of 11




is that a man can be punished by criminal sanctions only for specific acts,” “not for general

misconduct.” Michelson v. United States, 335 U.S. 469, 489 (1948). See also Old Chief v. United

States, 519 U.S. 172, 180-82 (1997) (evidence of prior bad acts “weigh[s] too much with the jury

and [risks] overpersuad[ing] them as to prejudge one with a bad general record and deny [the

defendant] a fair opportunity to defend against a particular charge”). Evidence of general bad

character or prior bad acts “weigh[s] too much with the jury and [risks] overpersuad[ing] them as

to prejudge one with a bad general record and deny [the defendant] a fair opportunity to defend

against a particular charge.” Id. at 180-82. See also Dowling v. United States, 493 U.S. 342, 352

(1990) (due process test asks whether introduction of the type of evidence is “so extremely unfair

that its admission violates ‘fundamental conceptions of justice’”); Spencer v. Tex., 385 U.S. 554,

574 (1967) (Warren, C.J. concurring in part and dissenting in part) (noting that case law

“suggest[s] that evidence of prior crimes introduced for no purpose other than to show criminal

disposition would violate the Due Process Clause”).

       It also risks creating a trial within a trial as the government tries to put on evidence about

who           had sex with “strangers” (who appear to have no other connection to this case),

when, and why. See, e.g., United States v. Aboumoussallem, 726 F.2d 906, 912 (2d Cir. 1984)

(upholding district court’s exclusion of evidence due to risk of “trial within a trial”).

       This evidence should be excluded.


II.    This Court should preclude evidence that Isabella Pollok had sex with strangers and
       other “grooming” evidence related to Pollok’s sexual activities.

       In disclosure letters, the government has stated that it believes it has evidence “consistent

with [Mr.] Ray sexually grooming Pollok,” and has detailed allegations relating to Ms. Pollok




                                                  4
           Case 1:20-cr-00110-LJL Document 325 Filed 01/31/22 Page 7 of 11




having sex with numerous different people. Gov. Disclosure Ltr, Apr. 5, 2021. 1 The government

has also stated that Ms. Pollok and an alleged victim would “engage” in “sexual acts with other

people,” and that Ms. Pollok would “teach” the alleged victim how to give a “blowjob.” 2 Ms.

Pollok’s sexual activities are irrelevant, unduly prejudicial, and confusing, and should be

excluded.

          Unlike        Ms. Pollok is not an alleged victim. She is charged as a co-defendant and

co-conspirator with Mr. Ray. The government’s enterprise letter refers to her as Mr. Ray’s

“lieutenant” in the alleged “enterprise.” Neither Mr. Ray nor Ms. Pollok are charged with any

sexual misconduct relating to Ms. Pollok and evidence of Mr. Ray’s alleged sexually

“grooming” of Ms. Pollok or of Ms. Pollok’s other sexual activities are not directly relevant to

the charged crimes. Evidence of her sexual activities is also not admissible as a criminal act of a

co-conspirator or an uncharged crime relating to the conspiracy because her sexual activities

were not criminal acts. Cf. United States v. Coppola, 671 F.3d 220, 245 (2d Cir. 2012) (allowing

evidence of “uncharged criminal acts by members of a racketeering enterprise”) (emphasis

added).




1
  “The Government has identified certain evidence that is consistent with Ray sexually grooming
Pollok. For example, the Government has identified videos in which Ray instructs Pollok to
engage in sexual relationships with other individuals and records Pollok’s activities. (See, e.g.,
1B38, IMG_2667.mov – IMG_2677.mov). In other videos, Pollok indicates that she is recording
a sexual interaction at Ray’s direction. (See, e.g., 1B38, IMG_2678). Certain witness accounts
also describe this sexual grooming, including information by Female Victim-1, Male Victim-1,
and Individual-1 described herein.” Gov. Disclosure Ltr, Apr. 5, 2021.
2
 “Ray would have Pollok teach Female Victim-2 how to properly give Ray ‘a blowjob.’ Female
Victim-2 would watch Pollok perform oral sex on Ray and then subsequently be told to mimic
what Pollok did. The Government also notes that there are videos produced in discovery that
show Female Victim-2 and Pollok engaged in sexual acts with other people and recording those
acts for Ray.” Gov. Disclosure Ltr, Aug. 16, 2021.



                                                 5
         Case 1:20-cr-00110-LJL Document 325 Filed 01/31/22 Page 8 of 11




       Instead, this evidence would only be relevant to portray Ms. Pollok as another alleged

victim of Mr. Ray’s conduct and allow the government to argue that the relationship between

Mr. Ray and Ms. Pollok shows Mr. Ray’s propensity to sexually “groom” people. 3 That purpose

would be impermissible, see supra, quoting, inter alia, Old Chief, 519 U.S. at 180-82, and

allowing this evidence would be unduly prejudicial. Because the government has defined the

relationship between Mr. Ray and Ms. Pollok as one of co-conspirators, it will likely be able to

circumvent ordinary hearsay and other evidentiary rules, and be permitted to admit statements

and acts by Ms. Pollok that would otherwise be inadmissible without her testimony. See Fed. R.

Evid. 801 (d)(2)(E) (noting that statements made by a coconspirator during and in furtherance of

the conspiracy are not hearsay); Coppola, 671 F.3d 220. It would be unfair to allow the

government to take advantage of these evidentiary rules and then suggest that Ms. Pollok was not

just a coconspirator but a victim too. This is particularly true as Mr. Ray will have no

opportunity to call Ms. Pollok as a witness in his defense.

       Additionally, as with the evidence of             sexual activities, admitting this type of

evidence for Ms. Pollok would also create the risk of having a trial within a trial, requiring the

defense to have to address the circumstances of each instance of Ms. Pollok’s sexual activities.

       Ms. Pollok’s sexual activities are simply not relevant and should be excluded.




3
  By the same token, the government should not be permitted to elicit evidence that Ms. Pollok
and Mr. Ray slept in the same bed or bedroom. The sleeping arrangements of consenting adults
is not relevant to any of the criminal charges and raises the same risk of improperly suggesting
that Mr. Ray was sexually “grooming” Ms. Pollok.


                                                  6
         Case 1:20-cr-00110-LJL Document 325 Filed 01/31/22 Page 9 of 11




III.   The Court should not permit the government’s toxicologist to testify that Mr. Ray
       was not poisoned.

       The government served notice of its intent to call Dr. Richard Pleus as an expert at trial,

who is expected to testify about Mr. Ray’s alleged poisoning. The defense moved to exclude Dr.

Pleus’s proffered testimony on Daubert grounds, reserving the right to move in limine to

preclude the testimony pursuant to the Federal Rules of Evidence. Dkt. 263. The Court ruled that

Dr. Pleus’s testimony is admissible at trial under Daubert. Dkt. 287. The defense now moves to

exclude Dr. Pleus’s specific testimony, as reflected in his expert report, that Mr. Ray “has not

suffered any health impairment from intentional poisoning,” Gov. Expert Ltr., Exh. E at 7, on

relevance grounds. 4

       Under Rule 401 of the Federal Rules of Evidence, evidence is relevant if “it has any

tendency to make a fact more or less probable than it would be without the evidence” and “the

fact is of consequence in determining the action.” Here, whether Mr. Ray was in fact poisoned is

not a fact at issue. As the government remarked during oral argument on the expert motions—

when asked by the Court “what is the relevance to the fact that the defendant was not poisoned

by mercury?”—“I don’t think the defense is advancing the theory that Mr. Ray was in fact

poisoned.” Tr. 59:20–25, 60:1–4 (Jan. 6, 2022). This is accurate. The government and the

defense agree that whether Mr. Ray was in fact poisoned is not at issue in this case. Rather, the

relevant issue is whether Mr. Ray believed he was poisoned. Because Dr. Pleus’s expert opinion

that Mr. Ray was not poisoned has no bearing on the disputed issue in this case, it is irrelevant

and should be excluded.




4
 The defense does not challenge the general relevance of Dr. Pleus’s opinion concerning Mr.
Ray’s elevated mercury levels.


                                                 7
        Case 1:20-cr-00110-LJL Document 325 Filed 01/31/22 Page 10 of 11




IV.    The Court should exclude the misleading maps from the government’s cell site
       expert.

       As the defense explained in its Daubert motion reply, the maps submitted by the

government’s cell site data expert are confusing and misleading. 5 As the court wrote in its

decision allowing the expert’s testimony: “The Court will hear the parties on whether the maps

are misleading at trial if the size of the circles and wedges are intended only to draw the eye to

particular locations and have no other significance.” Dkt. 287 at 10. The maps with circles and

wedges are misleading: they incorrectly suggest that the coverage areas of cell sites are of a

specific, circular size and they inaccurately imply that the phones were within the shaded areas.

These maps should be excluded. E.g., United States v. Cantoni, 18-cr-5672 (ENV) (EDNY April

1, 2019), Dkt. 71 at 2 (noting that “the government was directed to remove the shaded sectors

from its exhibits to avoid any confusion”).


V.     The Court should permit limited attorney-led voir dire.

       Mr. Ray requests that the Court permit each side thirty minutes of attorney-conducted

voir dire as a complement and addition to the Court’s voir dire during the jury selection process.

Federal Rule of Criminal Procedure 24(a)(1) explicitly allows this Court to permit attorney voir

dire. Attorney voir dire most effectively advances the goal of obtaining an impartial jury, both

through the intelligent, non-discriminatory exercise of peremptory challenges by counsel, and by

enabling the Court to make full and informed decisions about any challenges for cause. Jurors

are more likely to be truthful and forthcoming when questioned by advocates with in-depth

knowledge of the issues in the case than by the Court alone, whom the prospective jurors may be




5
  The government produced new maps in discovery received today. The defense reserves the
right to make additional objections to these maps once it has the opportunity to review them.


                                                 8
         Case 1:20-cr-00110-LJL Document 325 Filed 01/31/22 Page 11 of 11




more likely to provide with the “correct” answer due to Your Honor’s role in the proceeding. For

these reasons, Mr. Ray respectfully requests the Court to permit limited attorney-led voir dire.



                                          CONCLUSION

         For these reasons, the Court should (1) exclude evidence that                had sex with

strangers; (2) exclude evidence that Isabella Pollok had sex with strangers and other “grooming”

evidence related to Isabella Pollok; (3) preclude the government’s toxicologist from opining that

Mr. Ray was not intentionally poisoned; (4) exclude the misleading maps from the government’s

cell site expert; and, (5) permit limited attorney-led voir dire.


Dated:          January 31, 2022
                New York, New York


                                               Respectfully submitted,


                                                       /s/
                                               Allegra Glashausser, Esq.
                                               Marne L. Lenox, Esq.
                                               Peggy Cross-Goldenberg, Esq.
                                               Neil P. Kelly, Esq.

                                               FEDERAL DEFENDERS OF NEW YORK, INC.
                                               52 Duane Street – 10th Floor
                                               New York, New York 10007
                                               Tel.: (212) 417-8700

                                               Counsel for Lawrence Ray




                                                   9
